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IN THE 8" JUDICIAL CIRCUIT COURT
IN AND FOR UNION COUNTY, FLORIDA

ROGER DAVID ALCOTT CASE NO--63-2020-GACE-060638T
(o3-A0A\ - CA-0008

Petitioner,
Vv.

CENTURION OF FLORIDA, LLC;
CORIZON, LLC;

CORIZON HEALTH, INC.;

DR. BENJAMIN R. HASTY
ADVANCED EYE CARE OF BAY
COUNTY, P.A.

Defendants.

 

COMPLAINT FOR DAMAGES
Plaintiff, Roger Alcott (hereafter “ALCOTT”) through undersigned counsel files this

Complaint for Damages against Defendants, Corizon, LLC; Corizon Health, Inc.; Centurion of

Florida, LLC; Dr. Benjamin R. Hasty & Advanced Eye Care of Bay County, P.A. & states as

follows:

JURISDICTION & VENUE

1. Plaintiff seeks damages in an amount greater than $30,000.

2. The two subject causes of action occurred at the Reception & Medical Center (Lake Butler)
in Union County, Florida. The subject causes of action are 1) the left eye cataract surgery
performed by Dr. Hasty on April 18, 2018 leading to blindness in Roger’s left eye and 2) the
right eye cataract surgery performed by Dr. Hasty on May 16, 2018 leading to blindness in

Roger’s right eye. ALCOTT was in multiple correctional facilities both before & after these

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two surgeries in other counties. However, the two separate cataract surgeries are the catalysts

leading to detached retinas in both eyes & the subsequent loss of vision in each eye.

This is an action arising under 42 U.S.C. §§ 1983, 1988, and the Eighth Amendment of the

United States Constitution, and this Court has concurrent jurisdiction with the United

States District Court over such claims.

The Plaintiff has complied with all pre-suit requirements of Florida Statute 766.
PARTIES

Roger Alcott was incarcerated in the Florida Department of Correction system from April 1,

2014 to November 27, 2019. The Patient had no health problems with respect to his vision

when he entered the Florida Department of Correction system apart from a diagnosis of

amblyopia at birth.

At all times relevant herein, Corizon, Inc. and Corizon Health, Inc. were Tennessee

Corporations authorized to do business in the State of Florida.

Corizon Health, Inc. is the manager and sole member of Corizon, LLC. For the purposes
of this Complaint, Plaintiff will use the term "CORIZON" to mean each of the Corizon
entities.

Prior to May 1, 2016, CORIZON had a contract with the Florida Department of Corrections
to provide medical services on behalf of inmates in the Florida Department of Corrections
system.

At all times relevant after May 1, 2016, Centurion of Florida, Inc. was a Missouri
Corporation authorized todo business in the State of Florida.

Beginning on May 1, 2016, CENTURION entered into a contract with the Florida

Department of Correction to provide medical services on behalf of inmates in the Florida
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Department of Correction system. The contract was in effect through the end of the Patient’s
sentence in November 2019.
At all times relevant herein, Advance Eye Care of Bay County, P,A, was a Florida
Corporation authorized todo business in the State of Florida.
At all times relevant herein, Dr. Benjamin R. Hasty was a licensed ophthalmologist in the
State of Florida doing business as Advance Eye Care of Bay County, P,A,.
Dr. Benjamin R. Hasty is the registered agent for Advance Eye Care of Bay County, P,A,.
For the purposes of this Complaint, Plaintiff will use the term "DR. HASTY" to
collectively mean Dr Hasty & Advanced Eye Care of Bay County, P.A..
DR. HASTY was an independent contractor who performed surgery & other ophthalmic
services for CENTURION at all times relevant herein.

SPECIFIC ALLEGATIONS
On March 31, 2015, the Patient (ALCOTT) was diagnosed with cataracts in each eye when
he went to a routine eye examination with an optician. There is no medical record for this
visit. We are only aware of this visit because of a Chrono Note & a reference to this visit at a
subsequent appointment on May 16, 2017 visit with Dr. Kelli Parks where cataract surgery
was recommended “as soon as possible”.
Once a patient is diagnosed with cataracts, there is no cure other than surgery. Glasses may
be an acceptable course of treatment initially. However, it is well-known that cataracts
develop faster in younger patients (less than 60-years old) & those patients that may have
certain medical condition such as HIV. A 38- year like ALCOTT with an HIV diagnosis
should have had follow up visits at least every six months after the initial diagnosis. The

records properly note that three of ALCOTT’s HIV medications list blurry vision as a side
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effect. These conditions should have necessitated more frequent follow-up appointments, not
cancellations of already scheduled appointments.

ALCOTT was not seen by any other ophthalmologist prior to when CORIZON’s contract
with the Florida Department of Corrections system ended even though a December 28, 2015
Chrono Note stated that the Patient required an ophthalmology consult. The appointment

was scheduled for April 20, 2016 but was cancelled for no reason (see Chrono Note of March
8, 2016).

On May 16, 2017, ALCOTT was seen by Dr. Kelli Parks who noted that the patient had
severe cataracts that had gotten progressively worse since 2015 & that it was causing
increasing IOP (intra-ocular pressure). Dr Park’s notes also stated, “recommend cataract
surgery as soon as possible”.

There was a 26-month gap between when ALCOTT was diagnosed with cataracts & when he
was scheduled for a follow-up examination. ALCOTT should have been examined within
six-months of his cataract diagnosis as it is much more likely for cataracts to develop
negatively in younger patients. At the very least, ALCOTT should have seen a specialist
within 12-months of his March 31, 2015 cataract diagnosis.

ALCOTT was then transferred to another facility on May 23, 2017 where the notes stated,
“severe cataracts” & included a “Blue Form”. The “Blue Form” was signed by the Patient &
represented the approval for his cataract surgery.

On July 1, 2017, ALCOTT was seen at “Sick Call” where he inquired about his upcoming
surgery & mentioned the “Blue Form” that he signed.

On July 9. 2017, ALCOTT made a Sick Call Request where he asked if the “Blue Form” was

lost & he stated that his condition was getting progressively worse. ALCOTT was not seen
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by any medical provider until the January 12, 2018 ophthalmology consult with DR. HASTY
(six months later).

The only records in the ALCOTT’s file over the next six months after July 9, 2017 are three
pages of notes about a) his upcoming surgery b) that there was no upcoming “opt” consult &
c) that there is an upcoming “opt” consult.

The complete lack of care by CENTURION staff led to an advanced progression of his
cataracts which made the subsequent cataract surgery in each eye that much more difficult.
There is further negligence by CENTURION due to losing his “Blue Form” which was his
surgery clearance form.

DR. HASTY had his first consult with the Patient on January 12, 2018. DR. HASTY
recommended cataract surgery & noted the high risk of retinal detachment after surgery. DR.
HASTY’s plan was for left eye complex cataract surgery soon followed by the right eye
cataract surgery 1-2 months later.

On April 18, 2018, DR. HASTY performed the left eye cataract surgery. A follow-up visit
the next day revealed no complications with the surgery at that time.

On May 16, 2018, DR. HASTY performed the right eye cataract surgery. A follow up visit
the next day stated that there were no complications from the right eye surgery. The Patient
disputes these notes. The Patient stated that he mentioned to DR. HASTY issues that he was
starting to have regarding the sight in his left eye, but the records do not reflect this. Nursing
records from May 24, 2018 indicate that on May 18, 2018, the Patient noted blacklines &
decreased left eye vision while on May 19, 2018, the Patient noted that “he could not see out
of the left eye at all”. This was one & two days after ALCOTT’s post-operative visit with

DR. HASTY after his right eye cataract surgery.
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On May 21, 2018, ALCOTT filled out a Sick Call request that stated, “my eyes are hurting I
just had surgery and I am seeing trace’s going back & forth and my vision is blurry I would
like to see someone immediately”. The nurse clearly identified that the loss of vision
represented a medical emergency and initiated a prompt medical evaluation with Dr. Dure.
This failure to examine the inmate delayed an accurate diagnosis of the cause of loss of
vision and resulted in further delay in initiating referral to the appropriate ophthalmologist
for treatment. This more likely than not diminished the chances of sight restoration in the
inmate’s left & right eye.

DR. HASTY was called on May 24, 2018 when ALCOTT was seen in the Sick Call visit.
ALCOTT could not see out of his left eye at this time & was seeing floaters out of his right
eye. DR. HASTY prescribed drops for ALCOTT & did not seek prompt ophthalmic
evaluation even though he knew that there was a high risk of retinal detachment with
ALCOTT.

DR. HASTY, without the benefit of examination, and knowing the high risk of retinal
detachment in this patient, prescribed drops instead of prompt ophthalmic evaluation. More
likely than not, prompt examination would have revealed the nature of the condition.
Instead, ALCOTT was next seen for a pre-scheduled post-operative clinical follow up on
May 29, 2018 (five days later, with Dr. Roberts, OD). This failure to examine the inmate
immediately delayed an accurate diagnosis of the cause of ALCOTT’s loss of vision and
resulted in further delay in initiating referral to the appropriate ophthalmologist for treatment.
This more likely than not diminished the chances of sight restoration for ALCOTT in each

eye.
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The treatment that followed after ALCOTT was immediately transferred on May 29, 2018 to
Dr. Rappaport at the First Coast Retina Center was tertiary in nature. The damage to
ALCOTT’s eyes from a) the 26-month gap between a follow-up appointment; b) the 11 &
12-month gap until surgery after Dr. Parks stated “recommend cataract surgery as soon as
possible” on May 17, 2017; & c) the unnecessary delay in having a specialist examine
ALCOTT after developing severe surgical complications on May 18, 2018 each individually
& collectively contributed to the blindness that ALCOTT suffered after each separate eye
surgery.

Dr. Rappaport had three separate visits with ALCOTT, but he was unsuccessful in trying to
raise the pressure in ALCOTT’s left eye so that surgical intervention could be attempted. Dr.
Rappaport’s records noted retinal detachments in each eye; a choroidal detachment with low
pressure; & debris (scar tissue) from surgery.

Dr. Rappaport requested a second opinion from UF-Shands. ALCOTT had a few post-
operative surgeries at UF-Shands that were unable to reverse the damage caused by both the
April 16, 2018 left eye cataract surgery & the May 16, 2018 right eye cataract surgery. On
November 1, 2018, U-F Shands notified ALCOTT that his prognosis was dismal & his

blindness was a likely permanent condition.

COUNT I —- PROFESSIONAL NEGLIGENCE BY CORIZON LEADING TO LOSS OF

SIGHT IN ALCOTT’S LEFT EYE

36. Plaintiff incorporates by reference Paragraphs 1-35.

37. The complete lack of care by CORIZON staff led to an advanced progression of ALCOTT’s

left eye cataract which made subsequent left cataract surgery much more difficult &

complications much more likely to occur.
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CORIZON was/is well aware that there is no cure for cataracts except surgery & that
cataracts develop faster in younger patients with certain pre-existing conditions. In spite of
these facts, CORIZON was negligent for cancelling necessary medical treatment merely for
the sake of its own profitability.

Shortly, after ALCOTT’s left eye cataract surgery on April 18, 2016, there were
complications leading to the complete loss of vision in the left eye.

The complete lack of advocacy by the nursing staff on behalf of the Patient led to the severe
deterioration of his left eye cataract. Early intervention by CORIZON with respect to the
Patient’s vision needs would have preserved ALCOTT’s eyesight in his left eye.

CORIZON’s actions in cancelling appointments in order to monitor ALCOTT’s cataract
development in his left eye were willful and wanton and showed deliberate indifference
to ALCOTT's serious medical needs in violation of ALCOTT’s Eighth Amendment
rights.

As a direct & proximate result of CORIZON’s negligence & deliberate indifference, ALCOTT
lost the sight in his left eye, endured unnecessary pain & suffering & his quality of life has
been adversely affected forever.

WHEREFORE, the Plaintiff demands judgment against CORIZON for compensatory

damages, attorneys fees, costs & all other just & proper relief.

COUNT IIT - PROFESSIONAL NEGLIGENCE BY CORIZON LEADING TO LOSS OF

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SIGHT IN ALCOTT’S RIGHT EYE
Plaintiff incorporates by reference Paragraphs 1-35.
The complete lack of care by CORIZON staff led to an advanced progression of ALCOTT’s
right eye cataract which made subsequent right eye cataract surgery much more difficult &

complications much more likely to occur.
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CORIZON was/is well aware that there is no cure for cataracts except surgery & that
cataracts develop faster in younger patients with certain pre-existing conditions. In spite of
these facts, CORIZON was negligent for cancelling necessary medical treatment merely for
the sake of its own profitability.

Almost immediately after ALCOTT’s right eye cataract surgery on May 16, 2016, there were
complications leading to the loss of vision in the right eye where today he can barely see
shadows out of his right eye.

The complete lack of advocacy by the nursing staff on behalf of the Patient led to the severe
deterioration of his right eye cataract. Early intervention by CORIZON with respect to the
Patient’s vision needs would have preserved ALCOTT’s eyesight in his right eye.
CORIZON’s actions in cancelling appointments in order to monitor ALCOTT’s cataract
development in his right eye were willful and wanton and showed deliberate indifference
to ALCOTT's serious medical needs in violation of his Eighth Amendment rights.

As a direct & proximate result of CORIZON’s negligence & deliberate indifference, ALCOTT
lost the sight in his right eye, endured unnecessary pain & suffering & his quality of life has
been adversely affected forever.

WHEREFORE, the Plaintiff demands judgment against CORIZON for compensatory

damages, attorneys fees, costs & all other just & proper relief.

COUNT III —- PROFESSIONAL NEGLIGENCE BY CENTURION LEADING TO LOSS

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OF SIGHT IN ALCOTT’S LEFT EYE
Plaintiff incorporates by reference Paragraphs 1-35.
The complete lack of care by CENTURION staff led to an advanced progression of

ALCOTT’s left eye cataract & made the subsequent left eye cataract surgery much more

difficult.
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CENTURION was/is well aware that there is no cure for cataracts except surgery & that
cataracts develop faster in younger patients with certain pre-existing conditions. In spite of
these facts, CENTURION was negligent for waiting over 26-months before ALCOTT’s
follow up cataract appointment on May 17, 2017.

Shortly, after ALCOTT’s left eye cataract surgery on April 18, 2018, there were
complications leading to the complete loss of vision in ALCOTT’s left eye.

The complete lack of advocacy by the nursing staff on behalf of the Patient led to the severe
deterioration of his left eye cataract. Early intervention by CENTURION with respect to the
Patient’s vision needs would have preserved ALCOTT’s eyesight in his left eye.

CENTURION was further negligent by losing ALCOTT’s “Blue Form” which was his
surgery clearance form. ALCOTT was unable to have necessary surgery because of the
CENTURION staff’s negligence in losing this form.

CENTURION was further negligent & showed deliberate indifference when it delayed
ALCOTT’S left eye surgery by eleven months even after Dr. Park’s recommendation for
“cataract surgery as soon as possible”.

Once complications developed on May 18 when ALCOTT was unable to see out of his left
eye, CENTURION was then further negligent for not immediately seeking emergency medical
treatment. Timely intervention is critical once complications develop after surgery. Instead,
CENTURION waited eleven days for a Specialist examination. On May 29, 2018,
immediately after being seen by Dr. Roberts, OD, ALCOTT was transferred to Dr. Rappaport
at First Coast Retina Center. ALCOTT should have been transferred to a specialist

immediately upon receipt of his sick call request on May 18, 2018. ALCOTT was known to

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be a high-risk candidate for complications because of the previous lack of treatment combined
with possible medical contributing factors (HIV) that CENTURION was well aware of.

The complete lack of advocacy by the nursing staff on behalf of the Patient led to the severe
deterioration of his left eye cataract. Early intervention by CENTURION with respect to the
Patient’s vision needs would have preserved ALCOTT’s eyesight in his left eye.
CENTURION’s actions a) in not treating ALCOTT’s cataract development in his left eye
for 26-months; b) its loss of the surgical clearance Blue Form; c) in delaying ALCOTT’s
left eye cataract surgery for eleven months after Dr. Parks recommendation for “cataract
surgery as soon as possible; & (d) its failure to immediately treat after surgical
complications arose were willful and wanton and showed deliberate indifference to
ALCOTT's serious medical needs in violation of his Eighth Amendment rights.

As a direct & proximate result of CENTURION’s negligence & deliberate indifference,
ALCOTT lost the sight in his left eye, endured unnecessary pain & suffering & his quality of
life has been adversely affected forever.

WHEREFORE, the Plaintiff demands judgment against CENTURION for compensatory

damages, attorneys fees, costs & all other just & proper relief.

COUNT IV —- PROFESSIONAL NEGLIGENCE BY CENTURION LEADING TO LOSS

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OF SIGHT IN ALCOTT’S RIGHT EYE
Plaintiff incorporates by reference Paragraphs 1-35.
The complete lack of care by CENTURION staff led to an advanced progression of
ALCOTT’s right eye cataract & made the subsequent right eye cataract surgery much more
difficult.
CENTURION was/is well aware that there is no cure for cataracts except surgery & that

cataracts develop faster in younger patients with certain pre-existing conditions. In spite of

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these facts, CENTURION was negligent for waiting over 26-months before ALCOTT’s
follow up cataract appointment on May 17, 2017.

Shortly, after ALCOTT’s right eye cataract surgery on May 16, 2018, there were
complications leading to the complete loss of vision in the right eye.

The complete lack of advocacy by the nursing staff on behalf of the Patient led to the severe
deterioration of his right eye cataract. Early intervention by CENTURION with respect to
the Patient’s vision needs would have preserved ALCOTT’s eyesight in his right eye.
CENTURION was further negligent by losing ALCOTT’s “Blue Form” which was his
surgery clearance form. ALCOTT was unable to have necessary surgery because of the
CENTURION staff’s negligence in losing this form.

CENTURION was further negligent & showed deliberate indifference when it delayed
ALCOTT’S right eye surgery by twelve months even after Dr. Park’s recommendation for
“cataract surgery as soon as possible”.

Once complications developed on May 18, 2018 when ALCOTT was seeing floaters out of his
right eye, CENTURION was then further negligent for not immediately seeking emergency
medical treatment. Timely intervention is critical once complications develop after surgery.
Instead, CENTURION waited eleven days for a pre-scheduled Specialist examination. On
May 29, 2018, immediately after being seen by Dr. Roberts, OD, ALCOTT was transferred to
Dr. Rappaport at First Coast Retina Center. ALCOTT should have been transferred to a
specialist immediately upon receipt of his sick call request on May 18, 2018. ALCOTT was
known to be a high-risk candidate for complications because of the lack of treatment combined

with possible medical contributing factors (HIV) that CENTURION was well aware of.

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The complete lack of advocacy by the nursing staff on behalf of the Patient led to the severe
deterioration of his right eye cataract. Early intervention by CENTURION with respect to
the Patient’s vision needs would have preserved ALCOTT’s eyesight in his right eye.
CENTURION’s actions a) in not treating ALCOTT’s cataract development in his right
eye for 26-months, b) its loss of the surgical clearance Blue Form, c) in delaying
ALCOTT?’s right eye cataract surgery for twelve months after Dr. Parks recommendation
for “cataract surgery as soon as possible & (d) its failure to immediately treat after
surgical complications arose were willful and wanton and showed deliberate indifference
to ALCOTT's serious medical needs in violation of his Eighth Amendment rights.

As a direct & proximate result of CENTURION’s negligence & deliberate indifference,
ALCOTT lost the sight in his right eye, endured unnecessary pain & suffering & his quality of
life has been adversely affected forever.

WHEREFORE, the Plaintiff demands judgment against CENTURION for compensatory

damages, attorneys fees, costs & all other just & proper relief.

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COUNT V — PROFESSIONAL NEGLIGENCE BY HASTY LEADING TO LOSS OF
SIGHT IN ALCOTT’S LEFT EYE

Plaintiff incorporates by reference Paragraphs 1-35.

Left eye cataract surgery was performed by DR. HASTY on April 18, 2018.

Consultation with DR. HASTY was made on May 24, 2018 after complications (unable to see
out of left eye) arose on or about May 18, 2018. DR. HASTY, without the benefit of
examination, and knowing the high risk of retinal detachment in this patient, prescribed drops
instead of prompt ophthalmic evaluation. More likely than not, prompt examination would
have revealed the nature of the condition & ALCOTT’s left eye vision could have been

preserved.

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. DR. HASTY felt it was appropriate to wait five days for a pre-scheduled clinic follow up on
May 29, 2018 with Dr. Roberts, OD. This fatal failure to examine the inmate immediately
delayed an accurate diagnosis of the cause for the loss of vision in ALCOTT’s left eye and
resulted in further delay in initiating referral to the appropriate ophthalmologist for treatment.
This more likely than not diminished the chances of sight restoration in the inmate’s left eye.
Subsequent examination of ALCOTT’s left eye noted a giant retinal tear in the left eye & scar
tissue from the surgery. The choroidal detachment in the left eye with low pressure was likely
due to a leaking surgical incision.

DR. HASTY was negligent in performing cataract surgery on ALCOTT’s left eye as evidenced
by the a) giant retinal tear, b) the likely leaking surgical incision & c) the scar tissue seen in
the eye after surgery.

Dr. HASTY’s failure to immediately act after being consulted on May 24, 2018 when
major complications developed with ALCOTT’s left eye was negligent & showed willful
and wanton and deliberate indifference to ALCOTT's serious medical needs in violation
of ALCOTT?’s Eighth Amendment rights.

As a direct & proximate result of DR. HASTY’s negligence & deliberate indifference,
ALCOTT lost the sight in his left eye, endured unnecessary pain & suffering & his quality of
life has been adversely affected forever.

WHEREFORE, the Plaintiff demands judgment against HASTY for compensatory

damages, attorneys fees, costs & all other just & proper relief.

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COUNT VI —- PROFESSIONAL NEGLIGENCE BY HASTY LEADING TO LOSS OF
SIGHT IN ALCOTT’S RIGHT EYE

. Plaintiff incorporates by reference Paragraphs 1-35.

. Right eye cataract surgery was performed by DR. HASTY on May 16, 2018.

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Consultation with DR. HASTY was made on May 24, 2018 after complications (floaters in the
right eye) arose on or about May 18, 2018. DR. HASTY, without the benefit of examination,
and knowing the high risk of retinal detachment in this patient, prescribed drops instead of
prompt ophthalmic evaluation. More likely than not, prompt examination would have revealed
the nature of the condition & ALCOTT’s right eye vision could have been preserved.

DR. HASTY felt it was appropriate to wait five days for a pre-scheduled clinic follow up on
May 29, 2018 with Dr. Roberts, OD. This fatal failure to examine the inmate delayed an
accurate diagnosis of the cause for the floaters in ALCOTT’s right eye and resulted in further
delay in initiating referral to the appropriate ophthalmologist for treatment. This more likely
than not diminished the chances of sight restoration in the inmate’s right eye.

Subsequent examination of ALCOTT’s right eye noted a giant retinal tear in the right eye &
scar tissue from the surgery.

DR. HASTY was negligent in performing cataract surgery on ALCOTT’s right eye as
evidenced by the a) giant retinal tear & b) the scar tissue seen in the eye after surgery.

Dr. HASTY’s failure to immediately act after being consulted on May 24, 2018 when
major complications developed with ALCOTT’s right eye was negligent & showed
willful and wanton and deliberate indifference to ALCOTT's serious medical needs in
violation of ALCOTT’s Eighth Amendment rights.

As a direct & proximate result of DR. HASTY’s negligence & deliberate indifference,
ALCOTT lost the sight in his right eye, endured unnecessary pain & suffering & his quality of
life has been adversely affected forever.

WHEREFORE, the Plaintiff demands judgment against HASTY for compensatory

damages, attorneys fees, costs & all other just & proper relief.

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PLAINTIFF demands a jury trial on all charges so triable.

DATED this 25th day of January, 2021.

Respectfully Submitted,
GREGORY NORDT, Esq.

/s/ Gregory M. Nordt

 

Gregory M. Nordt

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Plantation, FL 33317
Phone: 954-325-8475
Fax: 888-381-7879
Attorney for Plaintiff

CERTIFICATE OF SERVICE
I hereby certify that a true and correct copy of the foregoing has been served by
email this 25th day of January 2021 to Kayla Platt Rady at krady@rumberger.com, Attorney for
Centurion of Florida, LLC; Jami Kimbrall at jmk@pbrookslawyer.net, Attorney for Corizon Health
Inc. & Corizon, LLC; and Miriam Coles at mcoles@henryblaw.com, Attorney for Dr.

Benjamin R. Hasty & Advanced Eyecare of Bay County P.A.

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